Case 1:13-CV-01243-RGA Document 101-2 Filed 06/09/16 Page 1 of 29 Page|D #: 906

EXHIBIT J

DR# Case 1:13'@"'01243'“3"?\/¢93§.%2§€9 39&5§ c§ll§éliQSa/P§é%&r Pa@e 2 O‘° 29 59§%90%}2%?1

1073235 l Smyrna Landing Road
SMYRNA DE 19977

Phone No. 302-653-9261
j n 7 7 DlsciPLiNARY HEAR|NG DEclsloN
inmate : Cohee, Daniel B SB|#:00470221 Type:Classl

 

 

 

§l_[\,$_§_i__tt{_fi'OHZJTVCC .}ames T. \fauqhn Correctiona| Center j Hearing D»ate:02/274/2012 Time: w

 

inmate Present@ Reason(|f No):M\
yiO|ainn l 1.02/200.201 Assault, 1.13 Fighting, 2.03/200.106 Creating a Health, Safety or Fire Hazard

 

inmate PLEA: Not Gui|ty

inmate Statement : Cohee states that other inmates Were messing With l/l\/l Pernell Struman and When the two of them Were
locked in cell together Struman Was saying he has life and he snapped on Cohee and started cutting him
With a razor. Cohee called for help and officers came. Struman flushed the razor. Cohee given stitches on
his hand and face totaling more than 50 stitches. Actual assault/fight not Witnessed by officers Cohee
does not Wantto press criminal charges On|y Cohee¢has injuries

 

Witness Name: ,_

TeSfimOny !On 2/27/12 from approx. 1540-1550 l met With |/l\/l Struman in 18 C-lnterview room. Struman refused to make a
` plea or give any statement He smiled and laughed a few times but that Was it.

DeCi$iOn FM¥ Vio|ations Gui|ty Not Gui|ty
f1.02/200.201 Assauit [ ] r><]

l 1.13 Fighting [ ] [X]

l l2-O3,/LO,-1Y,QLQ@FD93,#*§§'£*1,,§§B?FY Of Fire Hazard [ l le

lRational :N/A
Sanctions: N/A

HEAR|NG OFF|CER'S SlGNATURE

 

Rispoli Marcello T

| understand that l may appeal the decision of a C|ass ll Hearing to the C|ass | Hearing Officer.l may appeal the decision of a
C|ass l Hearing to the faciltiy administrator. | also understand that | have 72 hours to submit my notice of appeal in Writing to the
Class | Hearing Of'ficer if | am appealing a C|ass ll Hearing decision or the Warden ifl am appealing a C|ass | Hearing decision.

l [ ] Do [ ] Do NoTlNTEND To APPEAL

 

lNlV|ATE's SlGNATU RE

ORDER TO |MPLEMENT SANCT|ONS
[] inmate does not Wish to appeal [ ] Appeal has been denied by Commissioner or Designate

 

[ ] Sanctions have been modified [ ] Time Limit(72 hours since hearing) for appeal has expired

lt is here by ordered to implement the sanctions:

CONF|[ENI|A]L DOC000015

Disciplinar§%?$e 1:13'CV'01243'R§i'?vc?$i§kie“$ei‘.%€&r\§c§il§€li§§@l?<?é%?er Pa@@ 3 O‘° 29 B’a€i§l.e'i?/ii§/?oct§

1073235 Smyrna Landing Road
SMYRNA DE 19977

Phone No. 302-653-9261
D|SC|PL|NARY REPORT

 

 

 

 

Disciplinary Type:(;|ai1q n Housing Unit: izch lR#: 1095582
SB|# inmate Name |nst. Name Location Of incident Date Time l
00470221 jcohee, oaniei B l JTvcc l 23 W| 12;30
Violations: 1.02/200.201 Assau|t, 1.13 Figmng£.(_)BOOF_OB C_rea_tinq a Health, Safety or Fire Hazard
Witnesses:1.Mt 2. M\ 3. N_/A

Description of A|leged Violation(s)

On Thursday February 23, 2012 at 1230hrs, i Officer Jason Russeil was on Charlie tier with Sgt. Ernest Kemp and Officer James

Janusiewicz letting the inmates out to go to chow. When we exited the tier, l heard a ioud, continuous banging on Bravo tier. As we

entered Bravo tier the banging stopped. i was signaled by multiple inmates that it was coming from the uppers. As i came to Ceii

Upper 6, i observed blood spiatter on the cell door window with inmate Cohee, Daniei #00470221 standing at the sink with multiple

small lacerations to his face and a deep laceration to his right hand with blood covering his clothes and inmate Struman, Perneii

crouched down beside the lockers with blood on his shirt and pants. The waiis, floor, cell tabie, and sink/toilet were covered with
biood. i radioed to the control pod to cali a Code 8. To preserve the crime scene l instructed inmate Cohee to back up to the door ttJ;
be cuffed and removed from the ceii. inmate Cohee was secured in the Upper shower 1 and was instructed to not remove his

clothing or wash his wounds in the shower. inmate Struman was then instructed to back up to the door to be cuffed and was

escorted to the Bravo interview room. BU6 cell was secured. At this time, i stripped inmate Struman and did not find a weapon but

noticed blood on his hands and cuts on his right hand. inmate was then shackled to the tabie. i then asked inmate Struman were

the weapon was and he stated "i don¢',t know what your talking about". i then exited the tier and began my report while responders

stood by. --EOR--

|Reporting OffiCer! Russeii, Jason JjCorrectionai Officer)

 

l lmmediate Action Taken
'immediat@ action taken by¢ Russeii, Jason J -Correctionai Officer

inmates Secured in Seperate Areas, Crime Scene Secured.
_ _ _ Offender Disposition Detaiis

 

'Disposition:M\ _ Date:M/-\ Time:N_Mt Ceii secured? N_o
|Reason: N/A
Disposition Of Evidence: N/A

| “`_` _ _ _“_ _ `“ Whr_m_at`i`ori
'Approved: [X] Disapproved: [ ] Approved By:glick, Li§a L (Staff l_t_/Lt)

Comments: N/A

Shift Supervisor Detaiis
:Date Received: 02/23/2_01_2 Time: 1_5:Q1 Received From: Giick, Lisa L
;Shift Supervisor Determination:
[] Upon reviewing this Disciplinary Report, i conclude that the offense may be properly responded to by an immediate
revocation of the following privileges(see reverse side) for hours not to exceed 24 hours)

[X] Upon reviewing this Disciplinary Report, i conclude that the offense would be properly responded to by Disciplinary
Hearing.

oiick, usa L (starf Lt_/Lt)

coNFlD§FFHiA°-i¥oocooome

 

Disciplinar$iase 1:13'CV'01243'R§”rovcg§i§rti'é@eiq\/%Q§LH§ c¢'>:rir|eec igl§aip§é%t%r Page 4 Of 29&§§€11'?/5§/?0€|3
1073235 Smyrna Landing Road

SMYRNA DE 19977
Phone No. 302-653-9261

D|SC|PL|NARY REPORT
Disciplinary Type: 0{3551 Housing Unit: Pod 2M iR#: 1095582

 

| have received a Copy efthis notice en DATE; __ TlME: and have been informed of my rights to have
a hearing and to present evidence on my own behaif. l understand, if found guilty, i wiii be subject to imposition of sanctions

outlined in the Ru|es of conduct.

Preliminary Hearing off d
En er!

Officer:
Giick, Lisa L Cohee, Daniei B

coNFiD§f@¥émgi¥oocoooow

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EXHIBIT K

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STATE OF DELAWARE . PROCEDURE NUMBER: PAGE:
4.4 l OF 7
BUREAU OF PRISONS RELATED ACA STANDARDS:
36 ~

PROCEDURE MANUAL
CHAPTER: 4 DECISION-MAKING SUBJECT: INMATE GRIEVANCE

RELATING To lin-mms pace
APPRovED BY THE <:_HIEF, BUREMJ oF mason 2
/1 11 be
EFFECTIVE DATE; c / /
W ~5‘] /5; ¢S"

I. AUTHORITY: DOC POliCy 4.4

 

 

 

 

 

II. PURPOSE&

To establish an Inmate Grievance Procedure designed to
reduce tension in correctional facilities and to effectively
resolve the vast majority of cases within our system. Every
inmate will be provided a timely, effective means of having
issues brought to the attention of those who can offer
administrative remedies before court petitions can be filed.
NOTE: Inmates are encouraged to seek their counselors‘
advice on how to best pursue a response to concerns before
prematurely filing a grievance under the guidelines that
follow.

III. APPLICABILITY:

All BOP employees, volunteers, persons or organizations
conducting business with the BOP: all inmates under BOP
custody or supervision.

IV. DEFINITIONS:

A. Bureau Grievance Officer (BGO): A BOP employee who
reviews and mediates appeal of the Warden's/Warden's
Designee decision.

B. Emergency Grievance: An issue that concerns matters
which under regular time limits would subject the
inmate to a substantial risk of personal, physical or
psychological harm.

C. Grievance: A written complaint concerning the
substance or application of a policy or practice; any
action toward an inmate by staff or other inmates; any
condition or incident within the institution that
affects an inmate.

 

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V.

EUREAU OF PRISONS 4.4 2 OF 7
SUBJECT: INMATE GRIEVANCE PROCEDURE

D. Inmate Grievance Chair (IGC): An institutional
employee designated to handle inmate grievances.

E. Inmate Grievance Procedure (IGP): The formal process
provided to inmates to resolve disputes.

F. Outside Reviewer: An individual not associated with
DOC who hears inmate grievance appeals referred by the
BGO and Bureau Chief of Prisons.

H. Resident Grievance Committee (RGC):' A committee
comprised of institutional staff and inmates that hears
inmate grievances and makes a recommendation to the
Warden/Warden' s Designee

l. Reprisal: Any action or threat of action against
inmates or staff based solely on their participation or
use of the IGP.

J. Medical Grievance Committee (MGC): An institution's
specific medical review authority comprised of a
minimum of three medical services contractual staff
from the following list:

Health Services Administrator
Director of Nursing

Charge Nurse

Chief Medical Officer

Medical Records Clerk

Mental Health Counselor

Chief Dental Officer

Dental Assistant

PROCEDURE:

1. Copies of the IGP shall be available in each
institutional housing unit, in each library, in each
counselor‘ s office, and in each IGC office.

2. All inmates, regardless of physical condition/security

status/administrative status, shall be entitled to use
the IGP. Inmate complaints regarding policies and
conditions must be within DOC jurisdiction. This
includes actions by employees, inmates, and incidents
occurring within the institution that affect them
personally. NOTE; Policies that have their own formal
appeal mechanisms are not grievable through the IGP.
Specifically excluded from the IGP are issues
concerning Disciplinary, Classification, and Parole

 

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BUREAU OF PRISONS 4.4 _ 3 OF 7

SUBJECT: INMATE GRIEVANCE PROCEDURE

aid

Board decisions.

The IGP shall afford the grievant a meaningful remedy.
Relief may include an agreement by the Warden/Warden's
Designee to remedy an objectionable condition within a
reasonable, specified time period; change in
institutional policy or practice; or restitution.

The IGP prohibits reprisals against staff or inmates
for their use or participation in the process. If
either participant experiences adverse reactions, they
may appeal directly to the Warden/warden‘s Designee.
The warden/Warden's Designee shall offer a written
response within 10 calendar days upon receipt of the
appeal. This decision is appealable to the Bureau
Chief of Prisons for final dieposition-

No staff or inmate named as a party to the grievance
shall participate in any capacity in the resolution
decision. This instruction includes contact for
purposes of information gathering not merely decision
making. Grievances filed against the IGC or appealing
authority shall be referred to the next higher
authority_

All grievances shall be kept separate from the inmate's
master file. Neither staff or inmates shall have

-access to these records except to the extent necessary

for clerical processing, resolution, or decision
compliance.

The maximum period between initial grievance receipt
and final appeal response shall not exceed 180 calendar
days. If a full RGC cannot be convened as scheduled,
another hearing shall be rescheduled within 7 calendar

days.

lnmates are prohibited from submitting more than one
grievance arising from a single incident.

If more than one inmate files a grievance on the same
incident, the IGC will consolidate the staff
investigations and RGC hearings into a single “group
grievance". All individuals involved will be notified
by the IGC.

 

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SUBJECT: INMATE GRIEVANCE PROCEDURE

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19.

The IGC shall provide a copy of the response to each
IGP step to the grievant within 7 calendar days of IGC
receipt.

l
The RGC shall be comprised of two inmates who are
elected by a majority vote from their own housing unit
and two staff designated by the Warden/Warden's
Designee. Designated staff should include custody and
treatment staff, as well as, those who have frequent
contact with the grievant’s housing unit. Each RGC
member has one vote; the IGC shall only vote to break a
tie.

Inmate RGC members and two inmate alternates shall
serve for a term of six months. Staff RGC members
serve at the discretion of the Warden/Warden’s
Designee. One staff member shall be from Treatment and
one from Security.

The RGC shall deliberate on its findings and forward
its recommendation to the Warden/Warden's Designee.

All investigative work must be completed and documented
prior to the RGC hearing.

lnmates are allowed to retract a grievance at any time
during the process by written notice to the IGC.

The IGC shall submit a monthly IGP status report to the
BGO and the Bureau Chief of Prisons.

The BGO and the Bureau Chief of Prisons share
responsibility for IGP revisions/amendments.
Distribution to all points of inquiry listed in #01
above shall be the responsibility of the
Warden/warden's Designee.

Remedies which are dependent on departments or agencies
outside of the DOC may require more time for
coordination of implementation steps. The IGC shall
notify the grievant of the implementation plan and
schedule upon receipt of written notification of
concurrence by the outside entity.

The specific duties of the IGC and BGO are listed in
the "Inmate Grievance Procedure Training Manual".
Analysis of their performance is the sole
responsibility of their immediate supervisors.

 

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SUBJECT: INMATE GRIEVANCE PROCEDURE
IGP RESOLUTION LEVELS

Level I (Informal Resolution):

The IGP process begins when an inmate files Form #584. The
grievant must complete this form within 7 calendar days following
the incident and forward to the IGC. The IGC shall forward the
grievance to the inmates’ housing unit supervisors within two
days of their receipt. Housing unit Supervisors shall
investigate, document all findings on Form #175, attempt
resolution and report results to the IGC within 3 calendar days
of their receipt of the grievance. Resolution ends the IGP
process; the IGC closes the file and monitors issues of
compliance. Unresolved grievances are referred to Level II
administration.

Level II (RGC Recommendation/Warden's Decision):

The RGC will convene within 30 calendar days of IGC receipt of
the grievance to examine the issue and documented investigative
data from Form #175, hear testimony, and make a recommendation.
The Grievant will be offered the opportunity to participate in

x / the RGC hearing through examination of all information presented

and discussion with all participants. The RGC shall ask any
question it feels relevant to the issue. If the RGC determines
that further investigation is required it may grant an additional
five days, by majority RGC member vote and grievant consent, to
complete its work, All RGC work is to be documented and
forwarded to the IGC on Form #584 RGC Recommendation. The lGC
forwards the RGC recommendation to the Warden/Warden's Designee.
The Warden/Warden's Designee responds on Form #584 within 10
calendar days and forwards that response to the IGC for
distribution. If the Warden/Warden's Designee and grievant
concur with the RGC recommendation the grievance is deemed
resolved; the IGC closes the file and monitors issues of
compliance. If there is no concurrence, the case is referred to
Level III administration.

Level III (The Final Decision):

The BGO will review the grievance file upon receipt. Concurrence
with the Warden/Warden's Designee decision and signature by the
BGO and Bureau Chief of Prisons ends the IGP process; the IGC
closes the file and monitors issues of compliance. At the BGO's
discretion, mediation between grievant and the Warden/Warden's
Designee may be attempted or Outside Review recommended. The BGO
shall recommend Outside Review in only those instances where
interpretation of law or expansion of policy are necessary. The
kv/ Bureau Chief of Prisons may accept or reject the BGO's written

 

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BUREATJ' OF PRISONS 4.4 6 OF' 7
SUBJECT: INMATE GRIEVANCE PROCEDURE

recommendation. Decisions by the Bureau Chief of Prisons are
final and not open to grievant interpretation. The Bureau Chief
of Prisons will return his final decision and the grievance file
to the IGC for closure and monitoring for issues of compliance.

 

 

Emergency Grievance:

Issues that concern substantial risk of personal, physical or
psychological inmate injury shall be addressed immediately by the
warden/Warden's Designee. A copy of the grievance shall be sent
to the IGC upon receipt by the Warden/Warden's Designee. And the
Warden/Warden's Designee shall respond within one calendar day.
Grievant appeals of the Warden/Warden's Designee decision will be
decided by the Bureau Chief of Prisons within one calendar day
upon receipt of the emergency appeal. NOTE: If the
Warden/Warden's Designee should determine that the grievance does
not meet the emergency criteria, the grievance shall be returned
to the inmate for processing through the normal IGP process
steps.

Medical Grievance:

All medical grievances must be submitted to the Inmate Grievance
Chairperson (IGC) at the respective institution on Form #585-

If, by chance, an inmate sends a grievance directly to the
medical services contractual staff, they are to forward it first
to the IGC who will log it in the institution's grievance log and
then return it to the medical services contractual staff for
action.

The appropriate medical staff will review the grievance and
denote actions taken on the Medical Log Form #586

The medical services contractual staff will attempt an informal
resolution with the inmate, upon discussion over the treatment
defined on the Medical Log Form. If the Medical Grievance is
resolved the inmate acknowledges this by his signature on Form
#585 Informal Resolution. This signed form is forwarded to the
IGC who will close out the case.

Failure to resolve the grievance informally, results in a Medical
Grievance Committee hearing which will not include any medical
services contractual staff previously involved in the informal
resolution process. The IGC and the inmate must be present at
this hearing.

Resolution closes the case; failure to resolve the case results
in the inmate completing the MGC Appeal Statement section of Form
#585. Upon receipt, the IGC forwards the file to the Bureau

 

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SUBJECT: INMATE GRIEVANCE PROCEDURE

 

 

 

Grievance Officer (BGO). The BGO recommends a course of action
to the Bureau Chief of Prisons, who renders a final decision.

Universal Grievance:

Issues that concern the entire system and not just one inmate, a
group of inmates, or one institution shall be presented by the
BGO to the Bureau Chief of Prisons.

Institutional Transfer:

When possible, transfers shall be delayed for any inmate who has
filed a grievance and been notified of an RGC hearing date until
the hearing has concluded. If circumstance requires immediate
transfer, the IGC at the institution where the grievant filed
will proceed in the grievant's absence utilizing the normal IGP
process steps through Level II. The Warden/Warden's Designee
decision will be forwarded to the IGC at the grievant's new
location for review. If the grievant appeals to Level III, the
IGC at the grievant's new location shall forward the file to the

\_/ IGC at the original location for BGO review. Grievances filed

against the sending institution after an inmate's transfer, but
inside the standard seven day window following an incident, shall
be forwarded by the IGC at the new location to the IGC at the
original location for processing.

Appeals:

Grievant appeals must be signed, dated and state the specific
reasons on Form #584 Grievance Appeal. This form must be given
to the IGC who is responsible for tracking the status of each
grievance. The IGC will forward the appeal and grievance file to
the BGO. Grievants shall have 3 calendar days upon receipt of
their copy of the Warden/Warden's Designee decision to appeal, as
well as, to include any additional information for review at the
next level. NOTE: The Bureau Chief of Prisons decisions are
final and not appealable.

Attachments

 

 

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INMATE GRIEVANCE PROCEDURE

FORMS APPENDIX

April '98 Revision

 

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Inmate Grievance Procedure Appendix

Exhibit

Form #175
Form #175
Form #584
Form #584
Form #584
Porm #584
Form #584
Form #585
Form #585
Form #585
Form #586

ncaa-¢mnv:nonw:v`

DESCRIPTION

Housing Unit Investigation Report
Page Two

Grievance Form

Informal Resolution

RGC Recommendation
Warden's/Warden's Designee Response
Grievance Appeal

Medical Grievance

Informal Resolution

MGC Recommendation/Appeal

Medical Log

April '98 Revision

 

 

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M
\ ,¢) lNMATE GRlEVANCE HOUSING UN!T lNVESTIGATlON REPORT

THlS FORM MUST BE COMPLE'[`ED WITHIN 3 CALENDAR DA YS OF REC[EPT FROM l.G.C.

 

 

 

 

lNMA'I`E: l S.B.l #
CASE#: DATE RECEIVED FROM l.G.C.:
HOUSING UN!T:

 

H,-’)'if:'fh'ffffff!!fH;'//ff:')‘)'!{}fiii{fff!ff)'f!)’!!.-’ffff)'fllH;';'!)'!)'ffffifff.1')‘fffJ':'HU)')’!)W!IHF)W)'!)'JW/////////////////////l/////////////////////////////////////////////l/////////////////////

FA CT.S`/DETA ILS DETERMINED B Y THE INVESTIGA TOR:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

April ’98 REV

 

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FORM #]75
Inmate Grievance Housin Unit Investi¢'ation Re ort
"' Page Two
INVESTIGATOR (SHIFT LEADER); _DATE:

 

IF REFERRED '[`O THE NEXT SHIFT LEADER EXPLAIN WHY 1

 

 

 

 

DATE FORWARDED TO I.G.C,t

K_/

STAFF SlGNATURE.'

 

 

April ’98 REV

 

 

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FORM #584
GRIEVANCE FORM
FACILITY: DA'I`E:
GRIEVANT'S NAMEZ . SBl#t
CASE#: TlME OF lNClDEN’I`:

 

HOUS[NG UNI'I`:

 

BR_IEFLY STATE THE R.EASON FOR THIS GRIEVANCE. GIVE DATES AND NAMES OF OTHERS INVOLVED
lN THE INClDEINT OR ANY WITNESSES,

 

 

 

 

 

 

 

 

 

 

 

ACTION REQUESTED BY GRIEVANT:

 

 

 

 

 

GRlEV ANT`S SIGNATURE: DATE:

WAS AN l'NFORMAL RESOLUTION ACCEPTED? (YES) (NO)

(COI\/lPLETE ONLY lF RESOLVED PRIOR TO HEARl`NG)

GRIEVANT’S SIGNATURE: DATE:

IF UNRESOLVED, YOU ARE ENTITLED TO A HEARI.NG BY THE RESIDENT GRIEVANCE COMMITTEE.

cc: lNSTITU'I`ION FILE
CRlEVANT

April ’98 REV

 

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\/ ` M

 

lNFORMAL RESOLUTION

 

BKIEFL¥ STATE THE CONDITIONS OF THE INFORMAL RESOLUTlON. BE SPEC]FIC. LlST THE NAMES, ISSUES AND
PARTIES TO 'I'HIS AGREEMEN'I` WH!CH ADDRESS THE ACTION REQUESTED.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

GR_IEVANT’S SlGNATURE

 

DATE:

 

WITNESS (OFFICER):

 

CC: INS'I`ITUTION FILE
GRIEVANT

April ’98 REV

 

 

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FORM #584
WARDEN'S/WARDEN'S DES[GNEE RESPON§E
TO BE COMPLETED & RETURNED TO THE IGC W! 1 H[N 'l`EN CALENDAR DAYS
GR!EVANT’S NAME; SBI#:
HOUSING UNIT: CASE#:

 

 

///////////////////////////////l/////////////////////////////////////////////////////////////////////////////////////////////////////////////////l//////////////////////////////l//

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

\/'
wARDEN/wARDEN's DESlcNEE SlGNATURE DATE;
1 wlsH To APPEAL THIS To THE BuR£Au GRlF.v-ANCE oFFlcER (B.G.o.)
YES: No:
GmEvANT's sIGNATURE DATE
Fc_z.c. sxGNATURE DATE

' CC:INSTITUTION FILE
U chEVANT .

Apm ’98 REV

 

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FORM #584
_ R.G.C.RECOMMENDATION

THlS MUST BE COMLETED & RE'IURNED TO THE I.G.C. WI'I`H[N 30 CALENDAR DAYS

GRIEVANT’S NAME; SBI F`f: CASE #:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

R.G.C. MEMBERS:

INMATE REPRESENTATIVE:

 

lNM/\TE REPRESENTAT[VE'.

 

COUNSELOR:

 

SECUR] TY'.

 

 

 

l`NMATE GRIEVANT CHAIRSPERSON:

CC: INSTI'I`UT|ON I-`ILE
GRlEVANT

t/

April ’98 REV

 

 

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____-_d---“=-_'~u-

FORM #584

( ; ` GR\EVANCE APPEAL

 

Tl-IlS MUST BE COMPLETED AND RETUR.`NED TO THE IGC W]THIH 3 DA`YS OF RECE{PT OF THE
W)\RDENIWARDEN’S DES!GNF.E DECISION

 

 

 

 

G RIEVAN'I`: SBl#:
HOUSlNG UNIT‘. CASE#:
DATE:

 

THIS FORM IS TO BE USED ONLY lN THE EVENT OF A WAR.DEN’S DEC{SION APPEAL. PLEASE SPECIFY THE
REASON FOR THE APPEAL IN THE SPACE BELOW.

H./!JW!H!J'!'!!illfllllfflf!)'f;'llff¢'!!!lllff!lfff)’l¢".-'l!f)`/l!llfffll.~"ii)‘J'ffff2)'/ffH)'if,-‘llff»"f!')'.U.-‘ll!!:'lfe‘f!H!!!ffffUH/!lllH,'!»"fill."/FfflfffH,"f.~"#!)'f!}'!l}f{ff!}!}}!»"!HH)‘)')‘M)'H!H

 

 

 

 

 

 

 

 

 

 

 

 

 

lF YOL| NEF.D ADDIT|()NAL SPACE `PLEASE CON`I`INUE WRJTING ON TH`E BACK OF 'I'I-IIS FORM.

CC: INSTITU'I`ION F]LE
GR!EVANT

 

l " ,
Apri1’9s REV

i

 

Case 1:13-cV-01243-RGA Document 101-2 Filed O6/O9/16 Page 22 of 29 Page|D #: 927

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

FoRM #sss
L / ` Ml-:DICAL GRIEVANCE

FAclLITv: DATE suBMITTEI);

lNMATE’s NAME; sm#:

HousING UNIT: cAsE #:

zmmmmmrmmm;:11wmumwum1umrim)xxx1;1zx;zn1zxwxz//nxnw//x1z1x)m//1zzxfmmwfmnfwl1fffxn)mar1mxaz11;;xzxnyz7;zzz;)/;;;x:;:/rw)m/Hw
seen 0N #1

DATE & TlMI-: 01= MEDICAL rNcIDENT;

TYPE oF MEchAL PROBLEM:

GRJEVANT’$ sIGNATURE; DATE;

 

 

ACTION R.EQUESTED BY GRlEVANT:

 

 

 

 

DATE RECE]VED BY MEDICAL U`NI'I`:

NOTE: EMERGENCY MEDICAL CONDlTlONS WILL TAKE PRIORITY. OTHERW]SE, MEDICAL
GRIEVANCES WILL BE ADDRESSED AT THE WEEKL\' MEDICAL COM'M]TTEE MEET[NG.

April ’98 REV

 

 

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Were
w " MEDICAL GRIEVANCE
INFORMAL RESOLuT!oN

BR.IEFLY STATE THE COND|TIONS OF THE INFORMAL RESOLUT[ON. BE SPECIFIC. LIST~THE NAMES, lSSUES AND
PARTIES TO THIS AGREEME`NT WHICH ADDRESS THE ACT]ON REQUESTED.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

GR}EVANT’S SIGNATURE:

 

DATE:

 

WlTNESS (OFF!CER):

 

CC: INST{TUTION FILE
GRIEVANT

\/ Apri: ’98 REV

 

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FORM #535
L/ MED]CAL GRIEVANCE

MEDICAL Grievance Committee (MGC) Recommendation

 

RESPONSE BY M.G.C.;

 

 

 

 

 

 

 

 

DATE RECIEVED BY GRJEVANT: GRIEVANT SIGNATURE:

 

 

\/
DOES GRIEVAN'I` ACCEPT M.G.C. DEClSION? (YES) (NO]

 

MGC Agpeal Statement

PLEASE USE THE SPACE PROVIDED BELOW TO EXPLAIN THE SPEC!FICS OF YOUR APPEAL. UPO`N COMPLETION,
FORWARD THIS FORM TO THE [GC.

 

 

 

 

 

 

 

GRIEVANT'S SIGNATUR.E: DA'I'E:

 

\/ CC: INsTlTU'rloN FILE
GRlEvANT

Aer ’93 REV

 

 

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LRM_LSG
` , MEchAL LOG
FAclLITY:
INMATE NAM t: SBI#

 

 

HOUS[NG UNIT:

 

CASE #:

 

iillii)‘ffffffff,-’.~’iii!f/fr'lfh'fM'fffll/.-’)".~’¢"fJ'!r'ff)‘f."fff/H/H!h‘f,"ffff!fllffMfffffff/;';‘ffffffflfill/fffff./!llifr’ff»"/ff/)'{)'f{f!`/h',~'f.~"Hf!H;'H!!fJ')'!'ll)‘ffll!f.~",";‘fll)*})'./)‘IJ'!!M"I)W!!)')’HI'

DATES TREATMENT

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

STAFF sIGNATURE; ` DATE;
\./

April ’98 REV

 

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EXHIBIT L

Case 1:13-cV-01243-RGA Document 101-2 Filed 06/09/16 Page 27 of 29 Page|D #: 932

FORM #584
GRIEVANCE F0RM
FACILITY= .'T-j? z/. (.". CJ _ oATE;_é_»@_?¢QM___ ______

 

GRlEvANT’S Nm\-u~*.:_,f JQA;.@‘ ,{, 5, ¢f';;_/§e¢g , SBl #; §/70@:7,2 /

C-ASE m p?é‘ §§ §/5/ TlME 0F 1NCIDENT=___(ZH£ ______

HouslNc UNlT: d g`.'-.¢f"~ »Zi;s'/Q__i_

BR!EFLY STATE THE REASON FOR 'l`HlS GRIEVANCE. GIVE DATES AND NAMES OF OTHERS lNVOlJ\/ED

IN THE lNClDENT OR ANY WITNESSES

ZA241..57 icjéc?z_?‘:?£&ac¢_l_._ M_z‘¢/:LLA<_!;'/A 4'>%/5;»/ /?1»»7 né.$
<_§élrwl';:? LF,= 1524 /%Q¢¢r/ //i’_'».,/aé C;§é,és 329 lJ/a/;HJ~

M‘f ` tQ__L!ZZLC_/MH ?_

    

' -eJ;/__££_&/w aff

     
 
  
 

13 ma 1425 25a/re 232/aa

 

92 - ,et» ring 22;:- /7.§/,»-142¢/2; £¢/22¢/2.”2/ _JQFF
.d.”()l? /_/},1>)4-¢!¢_]- //; ~D{’W§?ff

AtTlONREQLJL::.Il-.DBYGRIEVANT gina/gi Q;&EE ,£;2 die CL{¢,Q;.L r,&/JM£.

f%&izé'___i//Lz§@/_.Q;QLAAM»B

 

 

  
 
  

WM; L_)`¢[ 521 gap d 1511 /¢?¢-/2:):( xi /'}.=zomi:?)
goff § __ I.

j j_`£'or).l`_
GluE\/ANT’S SlGNATURE;_L-@_'£. 2§. ( odd _ UATL"-' (”/Zf//§
WAS AN INFORMAL RESOI,UTloN ACCEPTED? <YF.S) (No)

(COMPLETE ONLY lF RESOLVED PR]OR 'I`O HEARlNC)

GNEVANT’S SlGNATURE; DATE;__ _ _

 

IF UNRESOLVED, YOU ARE EN'I`ITLEI) T() A HEAR|NG BY THE RESIDENT GRlEVANCE COMMITTEE.

cc: lNSTITUTlON FILE
GRIEVANT
April ‘97 REV

£.c. G/e
DOCOOOO12

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case 1:13-cv-01243-RGA DocuWR?hQ/§W“%W%/oe/la Page 28 of 29 PagelD #: 933

Phone No. 302-653-9261

GR|EVANCE REPORT

 

` chFE`NDER GRlEvANcE"iN`i`=b`RMATloN

ffender Name :COHEE, DAN|EL B SB|# : 00470221
rieVanCe # I 269345 Grievance Date : 06/25/2013
fatUS 2 Return / Unprocessed Reso|ution Status :

rievance Type: |\/|isce||aneous incident Date 3 06/25/2013
§C 1 Dutton, I\/\atthew HOUSing at the

time of Grievance :

institution : JTVCC

Category : lndividua|
Reso|. Date

incident Time:

B|dg 21, Lower, Tier B, Ce|16, Top

rievanCe LOC 2 JTVCC -21 Current Housing :Bui|ding B, Tier A, Ce|l 12, T0p

oF'FENDER GR|EVANCE D§TA|LS
eSCriptiOn Of COmp|aint! inmate grievance ideas he has

Please see entire grievance under scanner

emedy Requested

_ _AnlleloNAL GRlEvANcE lNFORMATIoN

edical Grievance : NO Date Received by Medical Unit :

rievance Amount :

lNFORMAL RESOLUT|ON

 

_ _ _ _ oFFENDER Gi`zll`-:`\{ANCE lNFORMAT`lo`N _
lffender Name :COHEE, DAN|EL B SB|# : 00470221

irievance # : 269345 Grievance Date : 06/25/2013
tatus : Return / Unprocessed Reso|ution Status:

irieVanCe Type: |\/|isce||aneous incident Date : 06/25/2013
SC : Dutton, i\/|atthew Housing at the

time of Grievance :

institution : JTVCC

Category : individual
inmate Status :

incident Time :

B|dg 21, Lower, Tier B, Ce|| 6, Top

l»rievance Loc : JTVCC -21 Current Housing :Bui|ding B, Tier A, Ce|| 12, Top

lNFORMAL RESOLUT|ON

Offender's Signature:

 

Date

Witness (Officer)

 

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DOCOOOO13

Case 1:13-cv-Ol243-RGA DochfiB¥\'t"fO-PFZ"*\Bil'é€ia%/O9/16 Page 29 of 29 Page|D #: 934
SMYRNA DE, 19977

Phone No. 302-653-9261

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